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                                                       May 25, 2023

VIA ECF & EMAIL

The Honorable Nicholas G. Garaufis
The Honorable Kiyo A. Matsumoto
United States District Judges
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Qawon Allen,
                       Nos. 19-cr-128 (NGG), 20-cr-213 (KAM)

Dear Judge Garaufis and Judge Matsumoto:

        We write on behalf of defendant Qawon Allen. After considering the government’s reply
brief in support of disqualification and consulting with Mr. Allen and Curcio counsel, we hereby
notify the Court that Federal Defenders of New York no longer opposes the government’s
disqualification motion and affirmatively moves to withdraw as counsel.

       In opposing disqualification, we stated that we would seek to remain on the case only if
Mr. Allen entered the necessary factual waivers to remove Mr. Yaster as an unsworn witness.
See DQ Opp’n 1. We listed several factual objections that Mr. Allen would have to abandon at a
Curcio hearing for us to remain his attorneys. See id. at 1, 4. Since its initial filing, the
government has identified additional ways in which Mr. Yaster could become an unsworn
witness either for or against Mr. Allen at sentencing. It also has stated that there may be further
unanticipated factual disputes to which Mr. Yaster could be a witness.

        We now agree that it will be difficult, if not impossible, to anticipate the potential factual
questions that could render Mr. Yaster an unsworn witness, either for or against Mr. Allen. Our
inability to predict them imperils Mr. Allen’s ability to enter a knowing and intelligent waiver at
a Curcio hearing. Accordingly, we no longer object to disqualification on the ground that Mr.
Yaster may be a potential fact witness for or against our client. We respectfully request that
Federal Defenders be granted leave to withdraw from Mr. Allen’s representation on that basis.
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                                                                                May 25, 2023

      We have discussed this motion to withdraw with Curcio counsel, Mr. Allen, and the
government. It is unopposed.

                                                 Respectfully submitted,

                                                 /s/
                                                 Deirdre D. von Dornum
                                                 Marissa Sherman
                                                 Benjamin Yaster
                                                 Federal Defenders of New York, Inc.
                                                 (718) 330-1291
                                                 Counsel for Qawon Allen

cc:    all counsel of record (via ECF)
       Qawon Allen (via hand delivery)




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